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SPT eres cee
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October 16, 2020

VIA ECF

The Hon. George B. Daniels

Daniel Patrick Moynihan United States Courthouse
500 Pearl Street

New York, NY 10007-1312

  

BAwae,

Re: Mac & Jack’s Brewery Inc. v. American Cider Co., LLC, Case No. 19 Civ. 00962 (GBD)
Dear Judge Daniels:

This firm represents Plaintiff Mac & Jack’s Brewery, Inc. (‘Plaintiff’) in the above-captioned
matter. We write to seek an adjournment of the hearing, scheduled for Tuesday, October 20,
2020 at 10:30a.m. (the “Hearing”), concerning Plaintiff's application for an order to show cause
why Defendant American Cider Company LLC (“Defendant”) and its agents Julie Ciolek and
Leonard Ciolek should not be held in contempt (the “Motion’’) of the Court’s Default Judgment
and Permanent Injunction order, entered on April 30, 2019. Dkt. Nos. 22-27. The parties are in
discussions to resolve the Motion and believe that additional time would aid settlement of the
dispute.

Per your Individual Rules, the date for the Hearing is currently October 20, 2020 at 10:30 a.m;
the parties have not requested a prior adjournment of this Hearing; and Defendant in this action
consents to Plaintiff's request for an adjournment of the Hearing.

We appreciate the Court’s cooperation in the matter.

Respectfully submitted,

Davis Wright Tremaine LLP

/s/ L. Dantelle Toaltoan

L. Danielle Toaltoan

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